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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,
                                                        File No. 1:04-CV-165
v.
                                                        HON. ROBERT HOLMES BELL
JANET MAVIS MARCUSSE,
DAVID REX ALBRECHT,
GEORGE TERRANCE BESSER,
DIANE RENAE BOSS,
WESLEY MYRON BOSS,
DONALD MAYNARD BUFFIN, JR.,
WILLIAM EDWARD FLYNN and
JEFFREY ALAN VISSER,

              Defendant.
                                            /

              MEMO RANDUM O PINION AND ORDER

       This matter is before the Court on the government's motion for a protective order

regarding copying and dissemination of Jencks and Brady information the government will

be providing to pro se Defendants and Defense Counsel of Record.

       Although Defendants have not made a request for materials under the Jencks Act, 18

U.S.C. § 3500, the government proposes to provide pro se Defendants and Defense Counsels

of Record a copy, in advance of the witnesses' testimony, of Jencks Act materials as well as

additional reports of witness interviews which have not been adopted or reviewed by the

witness and are not subject to disclosure under the Jencks Act. Because further copying or

dissemination could endanger government witnesses, chill future sources of information, and
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constitute unwarranted disclosure of grand jury and government information, the government

seeks an order requiring the copies given to pro se Defendants to be distributed in open

Court, to stay in the courtroom and to be returned to the government at the close of the

presentation of the evidence.

       It appears to the Court that the government's request is reasonable. The general aim

of the Jencks Act is to restrict the use of Jencks statements to impeachment of a government

witness by bringing to the attention of the jury during cross-examination of the witness any

variances between his testimony and his pretrial statement. United States v. Fried, 881 F.2d

1077 (Table), 1989 WL 88495, *3 (6th Cir. Aug. 7, 1989). An order precluding the copying

or dissemination of Jencks Act materials and requiring the return of those materials after their

use on cross-examination does not restrict the use of the materials as contemplated by the

Jencks Act. Id. Such an order will also protect the witnesses, future investigations and the

grand jury process.

       In addition, pro se Defendant Marcusse's standby counsel and Defendant Buffin's

standby counsel have requested that they be included in the distribution of the materials in

order to be prepared to take over the defense of their clients, if called upon to do so. An

order permitting the inclusion of standby counsel in the receipt of the Jencks Act materials

is also reasonable. Standby counsel must be adequately prepared to assume representation

if a pro se Defendant abandons their self-representation or if ordered by the Court. See

United States v. Studley, 892 F.2d 518, 522-523 (7th Cir. 1989). In such a complex case as



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this, an order permitting distribution of the materials to standby counsel would facilitate the

proceedings and would avoid any delay if a pro se Defendant decides to permit standby

counsel to assume the representation. Accordingly,

       IT IS HEREBY ORDERED that the government's Motion for Protective Order

Regarding Early Release of Jencks Material and Exhibits (Docket #275) is GRANTED as

follows:

       1.     The United States will provide to pro se Defendants, Defense Counsel of

              Record, and Standby Counsel a copy of potential Jencks Act material, as well

              as other materials without request of the Defendants and before the time

              required by law;

       2.     a.     Any copies distributed to pro se Defendants will be done in open Court.

              b.      Such copies distributed to pro se Defendants will remain, at all times,

                     in the Courtroom, and will not be distributed to nor displayed to any

                     person behind the bar.

              c.      All copies, the original provided and any additional copies, will be

                      returned to the government at the close of the presentation of evidence.

       IT IS FURTHER ORDERED that

       1.     The United States will provide, prior to trial, copies of proposed exhibits to

              pro se Defendants, Defense Counsel of Record, and Standby Counsel.




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        2.     All copies of exhibits shall be returned to the government at the conclusion of

               the trial.

        IT IS FURTHER ORDERED that Standby Counsel Kaczor's and DeBoer's motions

to participate in discovery (Docket #283 and #287) are GRANTED.




Date:        April 28, 2005                /s/ Robert Holmes Bell
                                           ROBERT HOLM ES BELL
                                           CHIEF UNITED STATES DISTRICT JUDGE




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